               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MOHAN N. HARWANI, M.D.,            )
                                   )
               Plaintiff,          )
                                   )
    v.                             )        1:21-cv-522
                                   )
THE MOSES H. CONE                  )
MEMORIAL HOSPITAL                  )
OPERATING CORPORATION              )
doing business as CONE             )
HEALTH MOSES CONE HOSPITAL         )
doing business as                  )
MOSES CONE HOSPITAL, and           )
JONATHAN J. BERRY, M.D.,           )
                                   )
               Defendant(s).       )


                                 ORDER

    This matter is before this court for review of the

Recommendation filed on February 28, 2023, by the Magistrate

Judge in accordance with 28 U.S.C. § 636(b). In the

Recommendation, the Magistrate Judge recommended that

Defendant’s Motion to Dismiss be granted in part and denied in

part. (Doc 44.) The Recommendation was served on the parties to

this action on February 28, 2022. (Doc. 45.) In response,

Plaintiff timely filed objections. (Doc. 47.) Defendant

responded. (Doc. 48.)




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     This court is required to “make a de novo determination of

those portions of the [Magistrate Judge’s] report or specified

proposed findings or recommendations to which objection is

made.”   28 U.S.C. § 636(b)(1). This court “may accept, reject,

or modify, in whole or in part, the findings or recommendations

made by the [M]agistrate [J]udge. . . . [O]r recommit the matter

to the [M]agistrate [J]udge with instructions.” Id.

     This court has appropriately reviewed the portions of the

Recommendation to which objections were made and has made a de

novo determination which is in accord with the Magistrate

Judge’s Recommendation. This court therefore adopts the

Recommendation.

     IT IS THEREFORE ORDERED that the Magistrate Judge’s

Recommendation, (Doc. 44), is ADOPTED. IT IS FURTHER ORDERED that

Defendant’s Motion to Dismiss the Amended Complaint pursuant to

Rule 12(b)(6), (Doc. 28), is GRANTED IN PART and DENIED IN PART,

specifically that Defendant’s Motion to Dismiss is GRANTED as it

relates to Plaintiff’s Second Claim for Breach of Contract

against Defendant Berry and as it relates to the Third Claim for

Unfair and Deceptive Trade Practices against Moses Cone.

     IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss is

DENIED as to the First Claim against both Defendants and the

Second Claim for Breach of Contract against Defendant Moses Cone.


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This the 31st day of March, 2023.




                             __________________________________
                                United States District Judge




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